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   15
                           UNITED STATES DISTRICT COURT
   16
                          CENTRAL DISTRICT OF CALIFORNIA
   17
                                  WESTERN DIVISION
   18
      MARCUS GRAY (p/k/a FLAME), et            CASE NO. 2:15-cv-05642-CAS JCx
   19 al.,
                                               Honorable Christina A. Snyder
   20             Plaintiffs,
                                               DEFENDANTS’ MEMORANDUM
   21        v.                                IN SUPPORT OF MOTION FOR
                                               SUMMARY JUDGMENT
   22 KATHERYN ELIZABETH HUDSON
      (p/k/a KATY PERRY), et al.,              Date:    August 13, 2018
   23                                          Time:    10:00 a.m.
                 Defendants.                   Ctrm:    8D – 8th Fl., First Street
   24
                                               Filed:   July 1, 2014
   25                                          Trial:   February 26, 2019
   26
   27
   28

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    1 I.      PRELIMINARY STATEMENT
    2         By this motion, Defendants respectfully request that this Court enter
    3 summary judgment in their favor on the single claim—for copyright
    4 infringement—brought against them by Plaintiffs.1 See Third Amended Complaint
    5 (“TAC”), attached as Exhibit 13 to Declaration of Aaron Wais (“Wais Decl.”).
    6         In September 2013, a sound recording of the composition “Dark Horse” was
    7 released as the first single from Prism, the album by superstar pop artist, Katy
    8 Perry. The writers of “Dark Horse” are defendants Walter, Gottwald, Sandberg,
    9 Perry, Hudson, and Houston (the “Dark Horse Writers”).
   10         In July 2014, Plaintiffs, self-described Christian hip-hop artists, sued
   11 Defendants, alleging that the “Dark Horse” composition infringed the copyright in
   12 their musical composition entitled “Joyful Noise,” the recording of which appeared
   13 on Plaintiff Gray’s album, Our World Redeemed, released in 2008. (Plaintiffs do
   14 not claim that their sound recording was “sampled” or otherwise has been
   15 infringed.) Importantly, Plaintiffs do not contend that the any aspect of the vocal
   16 melody or lyrics in “Dark Horse” are infringing. Rather, Plaintiffs’ only
   17 contention is that “Dark Horse” copies a simplistic and repetitive synthesizer part
   18 (which, in musical terms, is called an “ostinato”) from “Joyful Noise.”
   19         Plaintiffs’ claim is wholly lacking in merit insofar as no infringement
   20 occurred and, accordingly, Plaintiffs’ claim must be dismissed as a matter of law.
   21 There can be no finding of copyright infringement unless a plaintiff meets the
   22 burden of proving by affirmative and admissible evidence that (i) the authors of
   23
        1
   24     “Plaintiffs” are plaintiffs Marcus Gray, Emanuel Lambert, and Chike Ojukwu.
        “Defendants,” in turn, are individual defendants Henry Walter p/k/a Cirkut
   25   (“Walter”), Lukasz Gottwald p/k/a Dr. Luke (“Gottwald”), Karl Martin Sandberg
        p/k/a Max Martin (“Sandberg”), Sarah Hudson (“Hudson”), and Jordan Houston,
   26   p/k/a Juicy J (“Houston”), as well as corporate defendants Capitol Records, LLC,
        UMG Recordings, Inc., Universal Music Group, Inc., WB Music Corp., Kobalt
   27   Music Publishing America, Inc., and Kasz Money, Inc. Defendants Katheryn
        Hudson p/k/a Katy Perry (“Perry”) and Kitty Purry, Inc. are moving separately but
   28   join in the Defendants’ motion.
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                 1 defendants’ work had access to plaintiff’s work before the creation of defendants’
                 2 work; and (ii) the works at issue are substantially similar as to protected
                 3 expression. Summary judgment should be entered in Defendants’ favor because
                 4 Plaintiffs cannot meet their burden on either element.
                 5         To survive summary judgment on the element of access, Plaintiffs are
                 6 required to bring forth affirmative, admissible proof that the Dark Horse Writers
                 7 had a reasonable possibility—not merely a bare possibility—of hearing “Joyful
                 8 Noise” prior to creating “Dark Horse.” Loomis v. Cornish, 836 F.3d 991, 994-95
                 9 (9th Cir. 2016). After extensive discovery, Plaintiffs do not have a shred of
                10 evidence to meet their burden of proof that any Dark Horse Writer had access to
                11 their work. Instead, they present nothing more than speculation and conjecture.
                12 However, speculation and conjecture are not evidence. Plaintiffs admit they never
                13 met or sent any music to any of the Dark Horse Writers and they have no
                14 knowledge of any of the Dark Horse Writers having ever received or heard “Joyful
                15 Noise.” Although Plaintiffs’ absence of affirmative access evidence is sufficient to
                16 grant summary judgment in Defendants’ favor, Defendants have taken the extra
                17 step of providing the Court with sworn declarations from all six Dark Horse
                18 Writers. In these declarations, the Dark Horse Writers unequivocally testify that
                19 they never heard “Joyful Notice” and never heard of Plaintiffs before this lawsuit,
                20 and that they independently created “Dark Horse.” Plaintiff cannot rebut
                21 Defendants’ affirmative evidence.
                22         Instead, Plaintiffs ask this Court to infer access by baldly asserting that
                23 “Joyful Noise” was purportedly “widely disseminated.” Plaintiffs’ theory is
                24 baseless. There is no evidence that “Joyful Noise” enjoyed any commercial
                25 success whatsoever, much less was widely disseminated. To the contrary, the
                26 record is devoid of evidence of a single sale of Our World Redeemed. And while
                27 Plaintiffs will claim that they and a third-party, Lecrae Moore, performed “Joyful
   Mitchell     28 Noise” live in their concerts, the record is devoid of any admissible corroborating
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                 1 evidence. Even more importantly, Plaintiffs admit that have no evidence that any
                 2 of the Dark Horse Writers attended any of these purported performances. The Dark
                 3 Horse Writers, by contrast, make clear that they do not make a practice of listening
                 4 to Christian hip-hop music, and have never attended a performance by Plaintiffs or
                 5 Lecrae. Because the Dark Horse Writers “were not participating in the relevant
                 6 market” of Christian hip-hop music, any alleged dissemination of “Joyful Noise”
                 7 within that market is irrelevant to the access inquiry. Loomis, 836 F.3d at 998. As
                 8 Plaintiffs concede, they and Defendants “operate in different music universes.”
                 9 See Defendants’ accompanying Statement of Uncontroverted Facts (“SUF”) ¶ 2.
                10         Plaintiffs also wrongly assert that there was widespread dissemination of
                11 “Joyful Noise” based on the mere fact that it was purportedly available on the
                12 Internet. Case law makes clear that the availability online of a copyrighted work is
                13 insufficient to establish widespread dissemination. Given the sheer volume of
                14 content available online, the alleged fact that “Joyful Noise” was streamed by an
                15 unknown number of persons simply will not support an inference that any of the
                16 Dark Horse Writers ever listened to “Joyful Noise”—particularly given their
                17 undisputed testimony that they do not make a practice of searching online for or
                18 listening to Christian music.
                19         As to substantial similarity, Plaintiffs likewise have failed to present any
                20 affirmative, admissible evidence sufficient to create an issue of fact. To prove
                21 substantial similarity, a plaintiff must satisfy both an “extrinsic” test (which
                22 requires objective analytic dissection of the works by an expert) and an “intrinsic”
                23 test (which subjectively considers whether an ordinary, reasonable person would
                24 find “the total concept and feel of the works” to be substantially similar). On
                25 summary judgment, only the extrinsic test is relevant, as the intrinsic test is
                26 reserved for the jury. “If [plaintiffs] cannot present evidence that would permit a
                27 trier of fact to find that [they] satisfied the extrinsic test, [they] necessarily lose[]
   Mitchell     28 on summary judgment ….” Swirsky v. Carey, 376 F.3d 841, 845 (9th Cir. 2004)
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                 1 (citation and internal quotation marks omitted).
                 2         Here, Plaintiffs’ sole expert, Todd Decker, failed to comply with the Ninth
                 3 Circuit’s methodological requirements for the extrinsic test. First, while Dr.
                 4 Decker asserted the existence of several claimed musical similarities between
                 5 “Dark Horse” and “Joyful Noise,” he did not objectively transcribe them, as
                 6 required by the extrinsic test, and he made admissions at his deposition which
                 7 establish each of them are commonplace and not protectible.2 Dr. Decker then
                 8 failed to extract all of these unprotectible elements—without which no similarities
                 9 remain—or to alternatively explain how those unprotectible elements “are
                10 numerous enough and their selection and arrangement original enough that their
                11 combination constitutes an original work of authorship.” Satava v. Lowry, 323
                12 F.3d 805, 811 (9th Cir. 2003). Second, when confronted with these deficiencies,
                13 Dr. Decker disavowed the concepts of objective transcription and analytical
                14 dissection which form the basis of the extrinsic test. Dr. Decker then performed an
                15 intrinsic analysis by relying on the subjective reactions of lay listeners to hearing
                16 recordings of the compositions. However, the intrinsic analysis is solely the
                17 province of the jury and may not be the subject of expert testimony. Dr. Decker’s
                18 methodology is wholly improper, thereby requiring preclusion of his opinions,
                19 without which Plaintiffs cannot survive summary judgment.
                20         In sum, Plaintiffs lack affirmative, admissible evidence sufficient to create a
                21 triable issue regarding either of the essential elements of access and substantial
                22 similarity. This Court should grant summary judgment in favor of Defendants.
                23 II.     SUMMARY OF UNDISPUTED FACTS
                24         In the SUF, each of the predicate facts that underlie this motion is set forth.
                25 For the convenience of the Court, a summary of the basic underlying facts follows.
                26
                27  Plaintiffs’ own expert musicologist, Dr. Lawrence Ferrara, agrees that each of
                     2

                   these claimed similarities is commonplace, trite, and unremarkable, whether
   Mitchell     28 separately or in combination with each other.
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                 1        Plaintiffs are Christian hip-hop artists. SUF ¶ 1. Plaintiffs operate in a far
                 2 different musical universe than the Dark Horse Writers. SUF ¶ 2. In 2007,
                 3 Plaintiffs and Lecrae authored “Joyful Noise,” a recording of which was released
                 4 on Gray’s album, Our World Redeemed, in 2008. SUF ¶¶ 4-6. “Joyful Noise” was
                 5 not commercially released as a single. SUF ¶ 7. On June 3, 2014, the United States
                 6 Copyright Office issued a copyright registration for the “Joyful Noise”
                 7 composition as it appears in Our World Redeemed. SUF ¶ 8. The record is devoid
                 8 of any evidence of any commercial exploitation of Our World Redeemed; Plaintiffs
                 9 have not produced or seen any evidence of any sales of the album, radio play of
                10 “Joyful Noise,” television broadcasts of “Joyful Noise,” licensing of “Joyful
                11 Noise,” or income earned from “Joyful Noise.” SUF ¶¶ 17-23.
                12        “Dark Horse” was written in 2013 by Walter, Gottwald, Sandberg, Perry,
                13 Hudson, and Houston. SUF ¶ 9. More specifically, over the course of a day in
                14 March 2013 at Conway Studios in Los Angeles, California, Walter and Gottwald
                15 independently created an instrumental musical track (the “Instrumental Track”),
                16 which became the musical bed for “Dark Horse.” SUF ¶ 10. Sandberg, Perry,
                17 Hudson, and Houston did not contribute to the creation of the Instrumental Track.
                18 SUF ¶¶ 11-12. Instead, in the summer of 2013, Perry, Hudson, and Sandberg
                19 created the sung vocal melody and lyrics for “Dark Horse” in collaboration with
                20 Gottwald and Walter; and Houston wrote and recorded the rap vocal portion of
                21 “Dark Horse.” SUF ¶¶ 13-14. A recording of “Dark Horse” was released
                22 commercially in September and October 2013, both as a single and as a track on
                23 Katy Perry’s album, Prism. SUF ¶ 16.
                24        Plaintiffs and Lecrae do not know and have never met any of the Dark Horse
                25 Writers. SUF ¶¶ 77-78. They have never given any of their music, including
                26 “Joyful Noise,” to any of the Dark Horse Writers and they have no knowledge of
                27 anyone else doing so. SUF ¶¶ 79-81. While Plaintiffs claim “Joyful Noise” was
   Mitchell     28 performed live by Gray, Lambert, and Lecrae, they have not produced any
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                 1 corroborating evidence and, even more importantly, they have no evidence that any
                 2 Dark Horse Writer ever attended any of their claimed performances. SUF ¶¶ 86-88,
                 3 90-91. And while Plaintiffs claim “Joyful Noise” was available on the Internet,
                 4 they have no knowledge of any of the Dark Horse Writers listening to “Joyful
                 5 Noise.” SUF ¶¶ 55, 57, 83.
                 6         The Dark Horse Writers, in turn, had never heard “Joyful Noise” before this
                 7 lawsuit; nor had any of them ever heard of Plaintiffs, Lecrae, or their music prior to
                 8 this lawsuit. SUF ¶¶ 43-44, 49, 71-76. The Dark Horse Writers never received
                 9 any music from Plaintiffs or Lecrae or attended any live performance by any of
                10 them. SUF ¶¶ 46-47. They do not write or produce music in the Christian hip-hop
                11 music genre. SUF ¶ 50. It is not their practice to listen to music falling within that
                12 genre. SUF ¶ 52. They do not search online for music falling within that genre, or
                13 listen to radio stations playing that genre. SUF ¶ 53. They do not watch any award
                14 shows dedicated to Christian hip-hop music or follow any charts that keep track of
                15 what songs and albums are popular within that genre of music. SUF ¶¶ 54, 62.
                16 Each of the Dark Horse Writers has a practice and policy to never accept any
                17 unsolicited music from anyone. SUF ¶ 70.
                18         Plaintiffs proffered the expert opinions of Dr. Todd Decker as to the issue of
                19 substantial similarity; Defendants, in turn, proffered the expert opinions of Dr.
                20 Lawrence Ferrara. SUF ¶¶ 92-93. Dr. Decker did not transcribe the purported
                21 musical similarities between the works into musical notation. SUF ¶ 94. At his
                22 deposition, Dr. Decker made admissions which establish that each of the purported
                23 similarities between the works are commonplace musical devices. SUF ¶¶ 95-106.
                24 Dr. Decker failed to extract these admittedly commonplace elements from the
                25 works when performing his analysis, or explain how the selection, coordination
                26 and arrangement of the commonplace elements in “Joyful Noise” constitutes
                27 protectable expression that Plaintiffs are entitled to monopolize. SUF ¶ 107.
   Mitchell     28 Instead, Dr. Decker focused on the way that the recordings of “Joyful Noise” and
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                 1 “Dark Horse” sound, including to lay listeners. SUF ¶¶ 110, 114-117.
                 2         Dr. Ferrara, in his expert reports, conducted an analytical dissection of the
                 3 “Joyful Noise” and “Dark Horse” compositions, including by transcribing the
                 4 works into musical notation, reviewing and transcribing relevant prior art, and
                 5 extracting those elements of both works that are unprotectible. SUF ¶ 108. Dr.
                 6 Ferrara concluded that each of the purported similarities between the two works
                 7 that Dr. Decker identified are trite, commonplace, and unremarkable, either
                 8 separately or in combination with each other. SUF ¶ 108.
                 9 III.    SUMMARY JUDGMENT STANDARD
                10         Summary judgment is warranted “if the movant shows that there is no
                11 genuine dispute as to any material fact and that the movant is entitled to judgment
                12 as a matter of law.” Fed. R. Civ. P. 56(a). Where “the nonmoving party has failed
                13 to make a sufficient showing on an essential element of [his] case with respect to
                14 which [he] has the burden of proof,” the “moving party is ‘entitled to a judgment
                15 as a matter of law’….” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
                16         The shifting of burdens is an essential component of the summary judgment
                17 standard. While a defendant moving for summary judgment bears the initial
                18 burden, it need only make a prima facie showing of the absence of a genuine issue
                19 of material fact on a dispositive issue as to which the plaintiff will bear the burden
                20 of proof at trial. Id. at 323-24; Fed. R. Civ. P. 56(c). Once the defendant makes this
                21 showing, the burden shifts to the plaintiff to establish there is a factual dispute on a
                22 dispositive issue that a reasonable jury could resolve in the non-movant’s favor.
                23 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).
                24         To satisfy this burden, “the non-moving party ‘must do more than simply
                25 show that there is some metaphysical doubt as to the material facts.’” Repp v.
                26 Webber, 132 F.3d 882, 889 (2d Cir. 1997) (quoting Matsushita, 475 U.S. at 586).
                27 Thus, “[a]s a rule, [] the nonmoving party must present more than a mere scintilla
   Mitchell     28 of evidence to defeat a motion for summary judgment.” Int’l Church of
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                 1 Foursquare Gospel v. City of San Leandro, 673 F.3d 1059, 1068 (9th Cir. 2011)
                 2 (internal quote marks and citation omitted). In fact, the nonmoving party must
                 3 produce affirmative, admissible evidence of facts sufficient to defeat summary
                 4 judgment. Rosa v. Taser Int’l, Inc., 684 F.3d 941, 948 (9th Cir. 2012) (requiring
                 5 “facts that would be admissible in evidence.”). Indeed, “[a] district court . . . need
                 6 not find a genuine issue of fact” if it is based on “uncorroborated and self-serving”
                 7 testimony. F.T.C. v. Neovi, Inc., 604 F.3d 1150, 1159 (9th Cir. 2010) (internal
                 8 citation and quote marks omitted). See also Block v. City of Los Angeles, 253 F.3d
                 9 410, 419 (9th Cir. 2001) (rejecting reliance on an affidavit to defeat summary
                10 judgment where the affidavit was “based on inadmissible hearsay”).
                11 IV.     PLAINTIFFS CANNOT PROVE COPYRIGHT INFRINGEMENT
                12         Summary judgment is proper because Plaintiffs are unable to establish that a
                13 reasonable jury could resolve Plaintiffs’ claims in their favor. “To establish
                14 copyright infringement, a plaintiff must prove two elements: ‘(1) ownership of a
                15 valid copyright, and (2) copying of constituent elements of the work that are
                16 original.’” Loomis, 836 F.3d at 994, quoting Feist Publications, Inc. v. Rural
                17 Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).3 Regarding the latter
                18 element, “[a]bsent direct evidence of copying,” Plaintiffs must prove that the
                19 Defendants had (1) access to “Joyful Noise” and (2) that “Joyful Noise” and “Dark
                20 Horse” are substantially similar in protected expression. Id. (internal quote marks
                21 and citations omitted); see also Funky Films, Inc. v. Time Warner Enm’t Co., 462
                22 F.3d 1072, 1076 (9th Cir. 2006).
                23         Here, Plaintiffs have never alleged direct copying and do not claim to have
                24 any evidence of direct copying. Thus, to defeat summary judgment, Plaintiffs must
                25 establish that a reasonable jury could conclude that the Dark Horse Writers had
                26 access to “Joyful Noise” and that “Joyful Noise” and “Dark Horse” are
                27
                     3
                    For summary judgment only, Defendants do not contest if Plaintiffs have a valid
   Mitchell     28 copyright in the “Joyful Noise” composition, but reserve all rights on the issue.
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                 1 substantially similar in protected expression. Plaintiffs cannot satisfy their burden
                 2 as to access or substantial similarity. Thus, summary judgment should be granted.
                 3         A.    Plaintiffs Cannot Prove Access as a Matter of Law.
                 4         A reasonable jury could not conclude that any Dark Horse Writer had access
                 5 to “Joyful Noise” before creating “Dark Horse.” Access “requires an opportunity
                 6 to view or to copy plaintiff’s work.” Loomis, 836 F.3d at 995. Where, as here, a
                 7 defendant moves for summary judgment on the ground that the plaintiff cannot
                 8 prove access, the defendant need only make a prima facie showing that the record
                 9 is devoid of evidence supporting access. Celotex, 477 U.S. at 323. The plaintiff
                10 then bears the burden to bring forth “‘significant, affirmative and probative’
                11 evidence supporting [its] claim of access.” Gable v. Nat’l Broad. Co., 727 F. Supp.
                12 2d 815, 824 (C.D. Cal. 2010), aff’d 438 F. App’x 587 (9th Cir. 2011); Jorgensen v.
                13 Epic/Sony Records, 351 F.3d 46, 51 (2d Cir. 2003), quoting Scott v. Paramount
                14 Pictures Corp., 449 F. Supp. 518, 520 (D.D.C. 1978) (same). See, e.g., Stewart v.
                15 Wachowski, 574 F. Supp. 2d 1074, 1092-93 (C.D. Cal. 2005) (granting summary
                16 judgment for defendants on copyright infringement claim, where defendants
                17 presented evidence that they did not have access to the work, and plaintiff had
                18 adduced no admissible evidence controverting this showing).4
                19         To do so, a plaintiff must prove “a reasonable possibility, not merely a bare
                20 possibility, that an alleged infringer had the chance to view the protected work.”
                21 Loomis, 836 F.3d at 995, quoting Art Attacks Ink, LLC v. MGA Entm’t Inc., 581
                22 F.3d 1138, 1143 (9th Cir. 2009) (emphasis added). “Where there is no direct
                23 evidence of access, circumstantial evidence can be used to prove access either by
                24 (1) establishing a chain of events linking the plaintiff’s work and the defendant’s
                25
                     4
                26  See also Bernal v. Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043,
                   1054 (C.D. Cal. 2010) (same). Accord Mowry v. Viacom Int’l, Inc., No. 03 Civ.
                27 3090, 2005 WL 1793773, at *5 (S.D.N.Y. July 29, 2005) (quoting Jorgensen v.
                   Careers BMG Music Publ’g, No. 01 Civ. 357, 2002 WL 1492123, at *4 (S.D.N.Y.
   Mitchell     28 July 11, 2002)).
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                 1 access, or (2) showing that the plaintiff’s work has been widely disseminated.” Id.
                 2 But, again, such evidence must be “significant, affirmative, and probative”; “mere
                 3 speculation or conjecture” is legally insufficient. Gable, 727 F. Supp. 2d at 824
                 4 (citations omitted).5
                 5         As discussed below, there is no evidence in support of any theory by which
                 6 access could be inferred. Defendants further have submitted testimony from all of
                 7 the Dark Horse Writers, that they did not hear or have access to “Joyful Noise”
                 8 prior to independently creating “Dark Horse.” No rebuttal evidence exists.
                 9               1.     Plaintiffs have not alleged and cannot prove direct access or
                10                      a chain of events leading to access to “Joyful Noise.”
                11         Plaintiffs have not and cannot articulate or prove a viable theory that any
                12 Dark Horse Writer had direct access to “Joyful Noise.”6 SUF ¶¶ 43-91. Plaintiffs
                13 also have not and cannot articulate or prove a viable “chain of events” theory by
                14 which any Dark Horse Writer could have had access to “Joyful Noise.” SUF ¶¶ 43-
                15 91. Nor could they possibly do so as they admit that they have never met the Dark
                16 Horse Writers (SUF ¶ 77); have never sent any music, including “Joyful Noise,” to
                17 any of the Dark Horse Writers and have no knowledge of anyone else doing so
                18 (SUF ¶¶ 79-81); and have no information that any of the Dark Horse Writers ever
                19
                   5
                     Absent sufficient evidence of a chain of events or widespread dissemination, a
                20 copyright  infringement plaintiff may satisfy the access prong only by showing a
                21 Neither Plaintiffs norbetween
                   “striking similarity”           the works at issue. Stewart, 574 F. Supp. 2d at 1100.
                                           their expert, Dr. Decker, argued or opined that “Joyful
                22 Noise” and “Dark Horse” are strikingly similar.
                   6
                     At one point, Plaintiffs theorized that because Our World: Redeemed was
                23 nominated for a Best Rock or Rap Gospel Album at the 51st Annual GRAMMY
                   Awards and Gottwald and Houston were registered voters for those GRAMMY
                24 awards, they could have accessed “Joyful Noise” through a streaming website
                   made available to voters by the Recording Academy. That theory, however, has
                25 been thoroughly debunked: neither Gottwald or Houston (or any other Dark Horse
                   Writer) voted in the Best Rock or Rap Gospel Album category for the 51st Annual
                26 GRAMMY Awards or visited any streaming website associated with those
                   GRAMMY Awards. SUF ¶¶ 64-65. And dispositive of the theory, the Recording
                27 Academy has affirmatively stated that none of the works nominated for a Best
                   Rock or Rap Gospel Album were available to be streamed in any event. SUF ¶ 66-
   Mitchell     28 67. Thus, no one could have listened to “Joyful Noise.”
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                 1 received or heard “Joyful Noise” (SUF ¶¶ 55, 57, 83, 90-91).7
                 2         Moreover, all of the Dark Horse Writers have testified unequivocally that
                 3 they had never heard or received “Joyful Noise” before this lawsuit was filed.
                 4 They have also testified unequivocally that they did not know who Plaintiffs or
                 5 Lecrae were before this litigation; have never met them; have not attended any of
                 6 their performances; have never purchased, streamed, or listened to any of their
                 7 music. SUF ¶¶ 43-49. This evidence is unrebutted by Plaintiffs.
                 8               2.     Plaintiffs cannot prove the widespread dissemination of
                 9                      “Joyful Noise” as a matter of law.
                10         The record is entirely devoid of evidence of the type of commercial success
                11 and circumstances necessary to infer access to “Joyful Noise.” The standard for
                12 proving widespread dissemination is well-established. “The evidence required to
                13 show widespread dissemination will vary from case to case” but, “[i]n most cases,
                14 the evidence of widespread dissemination centers on the degree of a work’s
                15 commercial success and on its distribution through radio, television, and other
                16 relevant mediums.” Loomis, 836 F.3d at 997, quoting L.A. Printex Indus., Inc. v.
                17 Aeropostale, Inc., 676 F.3d 841, 847 (9th Cir. 2012) (collecting cases). In that
                18 regard, “the public dissemination necessary to infer that a defendant might have
                19 had access to the work is considerable.” Loomis v. Cornish, No. 12-5525, 2013
                20 U.S. Dist. LEXIS 162607, at *41 (C.D. Cal. Nov. 13, 2013) (emphasis added),
                21 aff’d Loomis, supra, 836 F.3d 991, quoting McRae v. Smith, 968 F.Supp. 559, 564
                22 (D. Colo. 1997). “As a general matter, in order for a work to be widely
                23 disseminated, it must achieve a high degree of commercial success or be readily
                24 available in the market.” Id., at *11-12 (collecting cases) 8; see also Guzman v.
                25   7
                    Lecrae admits the same. SUF ¶¶ 78, 80, 84 & 87.
                     8
                26 Citing Art Attacks Ink, 581 F.3d at 1144 (T-shirt design was not widely
                   disseminated where plaintiff sold 2,000 shirts a year, displayed the design at fair
                27 booths and store kiosks, and posted the designs on the Internet); Rice v. Fox Broad.
                   Co., 330 F.3d 1170, 1178 (9th Cir. 2003) (insufficient evidence of widespread
   Mitchell     28 dissemination where plaintiff sold 17,000 copies of a video over a 13 year period);
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                 1 Hacienda Records & Rec. Studio, Inc., No. 6:12-CV-42, 2014 U.S. Dist. LEXIS
                 2 169746, at *17 (S.D. Tex. Dec. 9, 2014) (a song was not “widely disseminated”
                 3 where it “did not achieve popularity outside of the Tejano music scene”). The mere
                 4 fact of commercial success or ready availability in the market does not suffice;
                 5 courts still require evidence that would make reasonable an inference of access,
                 6 such as evidence that the song had obtained ubiquity,9 the defendant listened to that
                 7 type of music, or the song was readily available in a market in which defendant
                 8 participated.10
                 9         This high burden makes sense because, as it pertains to infringement of
                10 musical works, evidence of widespread dissemination does not prove that a
                11 defendant did, in fact, hear the plaintiff’s work but, instead, is used to infer there is
                12 a reasonable possibility that the defendant heard the work. Put another way, the
                13 standard is by necessity high because what a court is really concluding is that the
                14 plaintiff’s work was so popular or the circumstances such that it can reasonably be
                15 assumed that the defendant could not have avoided hearing it.
                16         Here, the scant evidence produced by Plaintiffs in discovery falls drastically
                17 short of the required standard. Notably, Plaintiffs lack evidence of any commercial
                18 success whatsoever—the record is devoid of any evidence of even a single sale of
                19 “Joyful Noise” or Our World Redeemed.11 Cf. Rice, 330 F.3d at 1178 (sales of
                20 (…continued)
                21 Jason   v. Fonda, 526 F. Supp. 774, 776 (C.D. Cal. 1981) (book sales of no more
                   than 2,000 copies nationwide and no more than 700 copies in Southern California
                22 were insufficient).
                   9
                     See, e.g., ABKCO Music, Inc. v. Harrisongs Music, Ltd., 722 F.2d 988 (2d Cir.
                23 1983) (access found where song was number one on the popular music charts for
                   weeks in the United States and England).
                24 10 See, e.g., Loomis, 836 F.3d at 998 (even if plaintiff’s song had saturated the Santa
                   Barbara market, the fact that the defendant songwriters spent time there did not
                25 evidence   access because defendants “were not participating in the relevant market
                26 –  the Santa  Barbara music scene – during their brief stay in Santa Barbara”).
                   11
                       To the extent that Plaintiffs try to rely on the purported critical success of
                27 “Joyful Noise” and Our World Redeemed in the Christian hip-hop community,
                   there is a vast difference between niche critical success and widespread
   Mitchell     28 commercial success. See Loomis, 836 F.3d at 994 (where the plaintiff’s song had
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                 1 17,000 copies held insufficient to establish widespread dissemination). The record
                 2 is equally devoid of any evidence that “Joyful Noise” was ever played on the radio
                 3 or broadcast on television.12
                 4         Equally unavailing is Plaintiffs’ attempt to infer access through alleged live
                 5 performances of “Joyful Noise.” Plaintiffs have not produced any admissible
                 6 documentary evidence that “Joyful Noise” was ever performed live. They can at
                 7 best offer their own vague testimony of having performed “Joyful Noise” at an
                 8 unknown number of venues for an unspecified number of audience members.
                 9 Such purported evidence is palpably insufficient. Loomis, 2013 U.S. Dist. LEXIS
                10 162607, at *46-47 (concert performances did not constitute access evidence where
                11 the plaintiff “ha[d] not produced any evidence, such as the scope, extent,
                12 attendance levels, locations, or number of performances of [the allegedly infringed
                13 composition]”), supra, note 10.
                14         Even if Plaintiffs’ uncorroborated assertions regarding concert performances
                15 (…continued)
                16 won   several awards, the Court found that, “[d]espite these achievements, Bright
                   Red Chords was not commercially successful”). This is particularly so where
                   Walter and Gottwald (and the other Dark Horse Writers) had no interest in and
                17 were   not participants in the Christian hip-hop community. Supra, p. 12.
                   12
                18    Plaintiffs’ interrogatory responses, in which they say that “Joyful Noise” was
                   played on the radio and in the background during televised interviews they gave,
                19 are not admissible evidence. See Fed. R. Evid. 801; Hill v. Beers, 670 F. App’x
                   644, 645 (9th Cir. 2016) (where the defendant relied only on his interrogatory
                20 responses in opposing summary judgment, the court held that “[s]uch responses are
                   not proper evidence”); Carter v. Clark County, 459 F. App’x 635, 636 (9th Cir.
                21 2011) (“vague, conclusory answers . . . interrogatories” are insufficient to create a
                   genuine issue of fact on summary judgment (citation omitted)). Plaintiffs produced
                22 zero admissible, competent evidence of radio or television play. They did not even
                   show that they received the royalties they would have been due from such
                23 exploitation. SUF¶¶ 21-22. At most, Plaintiff Gray vaguely testified that a clip of
                   “Joyful Noise” was played during the announcement of nominees during the 2009
                24 GMA (Gospel Music Association) Dove Awards, at which the song was nominated
                   for Best Rap/Hip Hop Song of the Year. But Gray did not know whether that clip
                25 was broadcast on television, nor did he know what portion of the song was played.
                   SUF ¶ 23. And, even if credited, the fact that a portion of “Joyful Noise” was
                26 played during the broadcast of a niche, gospel music program cannot establish
                   access. See Loomis, 2013 U.S. Dist. LEXIS 162607, at *44-45 (“evidence of small
                27 circulation . . . or local air time without other proof of access is generally not
                   enough to demonstrate a reasonable possibility of access.” (citation omitted));
   Mitchell     28 Guzman, 2014 U.S. Dist. LEXIS 169746, at *17.
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                 1 of “Joyful Noise” were accepted as proof (and they should not be), those
                 2 performances cannot create an inference of access as a matter of law because it is
                 3 undisputed that none of the Dark Horse Writers heard Plaintiffs or Lecrae perform
                 4 “Joyful Noise.” First, all of the Dark Horse Writers unequivocally testified that
                 5 they never attended any performance by Plaintiffs or Lecrae. Second, Plaintiffs
                 6 and Lecrae concede they have no information or knowledge of any Dark Horse
                 7 Writer ever attending their performances.
                 8         Moreover, the (inadmissible) evidence that Plaintiffs and Lecrae performed
                 9 at an unknown number of venues for an unknown and unspecified number of
                10 audience members over the years is not widespread dissemination of “Joyful
                11 Noise.” That purported evidence does not allow for the inference that it was
                12 reasonably possible one of the Dark Horse Writers heard a performance of “Joyful
                13 Noise.” The Dark Horse Writers undisputedly are not involved in the Christian
                14 hip-hop community, do not listen to that genre of music, do not attend
                15 performances of that genre of music, and have never attended a performance by
                16 Plaintiffs or Lecrae. Loomis, 836 F.3d at 998 (Santa Barbara local music scene
                17 “saturated” with the allegedly infringed work when defendants worked in Santa
                18 Barbara did not constitute widespread dissemination because the writers of the
                19 defendants’ composition did not participate in that scene). Cf. Three Boys Music
                20 Corp. v. Bolton, 212 F. 3d 477 (9th Cir. 2000) (jury could find access given, inter
                21 alia, that defendant Michael Bolton was a “huge fan” and collector of the music of
                22 the group which recorded the allegedly infringed composition).
                23         Finally, Plaintiffs cannot prove access on the ground that “Joyful Noise” was
                24 available on the Internet. Courts have repeatedly held that, as a matter of law, a
                25 work’s availability on the Internet does not constitute widespread dissemination
                26 capable of supporting an inference of access. See, e.g., Loomis, 2013 U.S. Dist.
                27 LEXIS 162607, at *47 (“The availability of a copyrighted work on the Internet, in
   Mitchell     28 and of itself, is insufficient to show access through widespread dissemination.”);
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                 1 Batts v. Adams, No. CV 10-8123-JFW, 2011 U.S. Dist. LEXIS 161402, at *11-12
                 2 (C.D. Cal. Feb. 8, 2011) (the plaintiffs’ evidence, including “the posting of videos
                 3 and/or songs on YouTube, Amazon.com, and iTunes by an unknown singer,” is “is
                 4 hardly ‘widespread’ [dissemination] and, in fact, is quite limited, and clearly
                 5 insufficient to support a finding of access”); Hayes v. Keys, No. CV 14-6246-PA,
                 6 2015 U.S. Dist. LEXIS 2860, at *7 (C.D. Cal. Jan. 7, 2015) (“Plaintiffs’ sole
                 7 allegation with regard to access is that the work was uploaded to YouTube in 2009.
                 8 However, this does not imply it was disseminated widely, and the FAC provides no
                 9 facts to support such an inference.”); Hayes v. Minaj, No. 2:12-cv-07972-SVW-
                10 SH, 2012 U.S. Dist. LEXIS 197043, at *9-10 (C.D. Cal. Dec. 18, 2012) (“The fact
                11 that the video was placed on YouTube does not imply it was disseminated widely,
                12 and the Complaint provides no other facts to support such an inference.”); O’Keefe
                13 v. Ogilvy & Mather Worldwide, Inc., 590 F. Supp. 2d 500, 515 (S.D.N.Y. 2008)
                14 (“[T]he mere fact that [plaintiff’s] work was posted on the internet prior to the
                15 creation of defendants’ work is insufficient by itself to demonstrate wide
                16 dissemination.”); Arnett v. Jackson, No. 5:16-CV-872-D, 2017 U.S. Dist. LEXIS
                17 128672, at *6 (E.D.N.C. Aug. 14, 2017) (“[T]he court does not infer Jackson’s
                18 access to Remember Me based on its presence on the internet.”).
                19         This well-established authority applies with equal force here. While
                20 Plaintiffs assert that five videos containing “Joyful Noise” were uploaded to
                21 YouTube and “viewed” by an unknown number of people prior to March 11, 2012
                22 (a year before “Dark Horse” was created), such evidence—even if admitted—
                23 wholly fails to demonstrate any access. Plaintiffs have no evidence that the Dark
                24 Horse Writers watched or would have watched any of such videos. Posting a video
                25 on YouTube is the modern day equivalent to placing a proverbial needle in a
                26 haystack. As the declaration of YouTube’s representative Joel Truher makes clear,
                27 hundreds of thousands of hours of video are uploaded daily and billions views are
   Mitchell     28 generated every day. SUF ¶ 33.
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                 1         Plaintiffs also contend that the five “Joyful Noise” videos on YouTube
                 2 collectively have a “view count” in excess of 1 million views over a four year
                 3 period dating from 2008 until 2012. YouTube “view counts,” however, are
                 4 inherently meaningless—a view does not necessarily mean that a human actually
                 5 watched or listened to the video, or that the video was played for more than a few
                 6 seconds. SUF ¶ 27. Indeed, a “view count” does not even identify the number of
                 7 unique viewers because one person could have watched the same or several of the
                 8 videos multiple times. SUF ¶ 25. In addition, “view counts” may be inflated by
                 9 third parties using improper means. SUF ¶ 29. Although the inherent
                10 meaninglessness and unreliability of view counts alone should result in the
                11 rejection of any argument by Plaintiffs relying on “view counts,” it also bears
                12 noting that, while it took four years for Plaintiffs’ five videos to accumulate a
                13 collective “view count” exceeding 1 million views, many other videos receive
                14 hundreds of millions of views in a single year. SUF ¶¶ 34-37.
                15         Plaintiffs’ “view count” argument is particularly irrelevant given that the
                16 Dark Horse Writers have each testified that they do not search for, much less listen
                17 to music within the Christian hip-hop genre, including online. Given this
                18 unrebutted testimony, and the staggering amount of content available on YouTube,
                19 it would be completely unreasonable to infer that a Dark Horse Writer conducted
                20 an affirmative search on YouTube that resulted in him or her stumbling across
                21 “Joyful Noise.” See Art Attacks Ink, 581 F.3d at 1145 (holding no widespread
                22 dissemination due to availability of design on website, in part, because “the
                23 Spoiled Brats design was only one of several images on the page” and “[v]iewers
                24 would not see the Spoiled Brats design without scrolling down on the page.”);
                25 Loomis, 836 F.3d at 998 (citing Nimmer, supra at § 13.02[A] (explaining that
                26 “evidence showing that Gloria Estefan was present in a room with 15,000 records,
                27 including one containing plaintiff’s song” was insufficient to demonstrate access)
   Mitchell     28 (citing Palmieri v. Estefan, 35 U.S.P.Q.2d 1382, 1383 (S.D.N.Y. 1995))); Batts,
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                 1 2011 U.S .Dist. LEXIS 161402, at *11-12 (“[T]he posting of videos and/or songs
                 2 on YouTube, Amazon.com, and iTunes by an unknown singer, the limited two
                 3 months of radio play in a single city in the United States, and the limited licensing
                 4 of the song in France ‘can only be described as the modern day equivalent of
                 5 looking for a needle in a haystack—where the alleged seeker does not know the
                 6 needle exists, and isn’t looking for it.’”).13
                 7         In sum, Plaintiffs cannot satisfy their burden of proving access and summary
                 8 judgment should be entered for this reason alone.
                 9                3.     Plaintiffs cannot rebut the undisputed testimony of the
                10                       Dark Horse Writers as to their independent creation.
                11         As discussed above, Defendants have demonstrated Plaintiffs cannot prove
                12 the necessary element of access, as a matter of law, which is fatal to their copyright
                13 claim. Defendants have also provided the Court with unrebutted testimony from
                14 the six Dark Horse Writers, attesting that “Dark Horse” was independently created
                15 without access to “Joyful Noise,” in 2013. SUF ¶¶ 9-16; 43-76. There is nothing
                16 that Plaintiff can proffer to rebut Defendants’ proof of independent creation of
                17 “Dark Horse,” which is thus also established as a matter of law.
                18         In an analogous case, Stewart, 574 F. Supp. 2d 1074, the Court granted the
                19 defendants’ motion to dismiss the plaintiff’s copyright claim involving the
                20 “Matrix” and “Terminator” films, on the grounds, inter alia, that the creators of
                21 those films testified they were created independently without access to the
                22 plaintiff’s works, which testimony was unrebutted. Id. at 1086-88, 1094. That same
                23 result should apply here. See also Watt v. Butler, 457 F. App’x 856, 861 (11th Cir.
                24
                25   Plaintiffs contend that “Joyful Noise” was also capable of being listened to on
                     13

                   Myspace, but they have no admissible evidence of this. Plaintiffs did not produce
                26 any evidence that “Joyful Noise” was actually uploaded to any particular Myspace
                   page—let alone evidence that anyone could actually listen to a sound recording of
                27 “Joyful Noise” through any Myspace page. Moreover, the availability of “Joyful
                   Noise” on Myspace would no more evidence widespread dissemination than its
   Mitchell     28 availability on YouTube. Supra, pp. 20-23; see also SUF ¶¶ 38-42.
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                 1 2012) (defendants entitled to summary judgment because “even if [plaintiff] had
                 2 made out a prima facie case based on a showing of access and substantial
                 3 similarity, the evidence of independent creation would have negated [it]”); accord
                 4 Calhoun v. Lillenas Publ’g, 298 F.3d 1228, 1234-35 (11th Cir. 2002).
                 5         B.     Plaintiffs Cannot Prove Substantial Similarity as a Matter of Law.
                 6                1.     Establishing substantial similarity.
                 7         In addition to proving “access,” a plaintiff must prove that the two works at
                 8 issue are “substantially similar.” Batts v. Adams, No. CV 10-8123-JFW, 2011 U.S.
                 9 Dist. LEXIS 161401, *8 (C.D. Cal. Oct. 21, 2011) (citation omitted). To prevail in
                10 a copyright infringement case, a plaintiff “must prove both substantial similarity . .
                11 . under the ‘extrinsic test’ and substantial similarity . . . under the ‘intrinsic test.’”
                12 Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620, 624 (9th Cir. 2010) (emphasis
                13 in original); see also Swirsky, 376 F.3d 845; Litchfield v. Spielberg, 736 F.2d 1352,
                14 1355 (9th Cir. 1984), cert. denied, 470 U.S. 1052 (1985). On summary judgment,
                15 the Ninth Circuit considers only the extrinsic test; while “[t]he intrinsic test is left
                16 to the trier of fact.” Benay, 607 F. 3d at 624; Funky Films, 462 F.3d at 1077. That
                17 is because the “intrinsic test, which examines an ordinary person’s subjective
                18 impressions of the similarities between two works, is exclusively the province of
                19 the jury.” But in any event, “a ‘plaintiff who cannot satisfy the extrinsic test
                20 necessarily loses on summary judgment, because a jury may not find substantial
                21 similarity without evidence on both the extrinsic and intrinsic tests.’” Funky Films,
                22 462 F.3d at 1077 (emphasis added), quoting Kouf v. Walt Disney Pictures &
                23 Television, 16 F.3d 1042, 1045 (9th Cir. 1994).
                24         “[T]he ‘extrinsic’ test considers whether two works share a similarity of
                25 ideas and expression based on external, objective criteria.” Smith v. Jackson, 84
                26 F.3d 1213, 1218 (9th Cir. 1996) (emphasis added). “The extrinsic test requires
                27 analytical dissection of a work and expert testimony” to “break[] the works ‘down
   Mitchell     28 into their constituent elements, and compar[e] those elements for proof of copying
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                 1 as measured by ‘substantial similarity.’” Swirsky, 376 F.3d at 845 (citation
                 2 omitted). But not all similarities are relevant: “[P]rotectable expression includes
                 3 the specific details of an author’s rendering of ideas,” but not the ideas themselves.
                 4 Metcalf v. Bochco, 294 F.3d 1069, 1074 (9th Cir. 2002) (emphasis added).
                 5         Accordingly, in applying the extrinsic test on summary judgment, a court
                 6 “must take care to inquire only whether ‘the protectible elements, standing alone,
                 7 are substantially similar,’” and must “filter out and disregard the non-protectible
                 8 elements in making [a] substantial similarity determination.” Cavalier v. Random
                 9 House, 297 F.3d 815, 822 (9th Cir. 2002), quoting Williams v. Crichton, 84 F.3d
                10 581, 588 (2d Cir. 1996) (emphasis added); Apple Comp. Inc. v. Microsoft Corp., 35
                11 F.3d 1435, 1446 (9th Cir. 1994) (“the unprotectable elements have to be identified,
                12 or filtered, before the works can be considered as a whole”); Batts, 2011 U.S. Dist.
                13 LEXIS 161401, at *8. The Ninth Circuit has held that “a combination of
                14 unprotectable elements is eligible for copyright protection only if those elements
                15 are numerous enough and their selection and arrangement original enough that
                16 their combination constitutes an original work of authorship.” Satava, 323 F.3d at
                17 811. Plaintiff bears the burden on this. See infra p. 26.
                18         Ultimately, substantial similarity “may often be decided as a matter of law.
                19 Indeed, the Ninth Circuit ha[s] frequently affirmed summary judgment on the issue
                20 of substantial similarity.” Gable, 727 F. Supp. 2d at 832 (internal citations and
                21 quotations marks omitted). Batts, 2011 U.S. Dist. LEXIS 161401, at *10 (quoting
                22 Narell v. Freeman, 872 F.2d 907, 910 (9th Cir. 1989)) (same).14
                23         Here, summary judgment is also warranted for the additional reason that
                24 Plaintiffs cannot prove that “Joyful Noise” and “Dark Horse” are “substantially
                25
                     Importantly, the mere fact that Plaintiffs’ expert conclusorily contends “Joyful
                     14

                26 Noise” and “Dark Horse” are substantially similar (while Defendants’ expert Dr.
                   Ferrara opines they are not substantially similar) does not, by itself, create an issue
                27 of fact sufficient to deny summary judgment. “[T]he mere existence of dueling
                   expert reports does not necessarily create a triable issue of fact.” Batts, 2011 U.S.
   Mitchell     28 Dist. LEXIS 161401, at *12 n.6, quoting Gable, 727 F. Supp. 2d at 836-37.
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                 1 similar,” as required under the extrinsic test, by virtue of the admissions and
                 2 methodological failings of their expert, Dr. Todd Decker.
                 3               2.     Plaintiffs have failed to satisfy the extrinsic test.
                 4         Plaintiffs bear the burden to adduce “expert testimony that addresses some
                 5 or all of the [] elements [which comprise a musical composition such as, without
                 6 limitation melody, harmony and rhythm] and supports its employment of them” to
                 7 demonstrate “that the similarity was ‘substantial’ and to ‘protected elements’ of the
                 8 copyrighted work.” Swirsky, 376 F.3d at 849.
                 9         Under Federal Rule of Evidence 702, a trial judge acts as a “gatekeeper” to
                10 ensure that expert testimony “is not only relevant, but reliable.” Daubert v. Merrell
                11 Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993). In the copyright-
                12 infringement context, expert testimony must be precluded where the expert’s
                13 testimony goes to the intrinsic, rather than the extrinsic test. Copeland v. Bieber,
                14 No. 2:13cv246, 2016 U.S. Dist. LEXIS 178817, at *15, (E.D. Va. Sept. 8, 2016);
                15 Batts, 2011 U.S. Dist. LEXIS 161402, at *16, n.5.
                16         “If [plaintiffs] cannot present evidence that would permit a trier of fact to
                17 find that [they] satisfied the extrinsic test, [they] necessarily lose[] on summary
                18 judgment because a jury may not find substantial similarity without evidence on
                19 both the extrinsic and intrinsic tests.” Swirsky, 376 F.3d at 845 (citation and
                20 internal quotation marks omitted). Here, Plaintiffs cannot meet their burden
                21 because their expert, Dr. Decker, failed to comply with the standards for the
                22 extrinsic test, and improperly relied and opined upon the subjective, intrinsic test.
                23                      a.     Dr. Decker failed to properly apply the methodology
                24                             of the extrinsic test, yet admitted the similarities at
                25                             issue were unprotectable.
                26         Dr. Decker admittedly failed to transcribe the musical similarities that he
                27 claimed to exist between the two compositions into objective musical notation
   Mitchell     28 (SUF ¶ 94). Instead, he simply pointed out several alleged similarities between
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                 1 their two ostinatos—principally, a pitch sequence of 3, 3, 3, 3, 2 (or “mi, mi, mi,
                 2 mi, re” in the solfége system) in a minor mode, which he deemed to be the “most
                 3 specific musical content shared by both tracks.” SUF ¶ 95. At his deposition, Dr.
                 4 Decker admitted that each of the similarities identified between the compositions
                 5 in his affirmative expert report were, in fact, common, or otherwise constitute
                 6 musical expression that no composer is entitled to monopolize. Most critically, Dr.
                 7 Decker opined that the pitch sequence of 3, 3, 3, 3, 2 “is not a pitch sequence in
                 8 any key or any mode that anyone is entitled to monopolize.” SUF ¶ 97.15
                 9         Defendants’ own expert, Dr. Lawrence Ferrara, also opined in his expert
                10 reports—through the use of transcriptions of “Dark Horse,” “Joyful Noise,” and
                11 prior art examples containing the similarities at issue—that each of Dr. Decker’s
                12 claimed similarities is trite, commonplace, and unremarkable, either separately or
                13 in combination with each other. SUF ¶ 108.16
                14         Unlike Dr. Ferrara, however, Dr. Decker entirely failed to extract what he
                15 conceded were unprotectible musical elements from his comparison of “Dark
                16 Horse” and “Joyful Noise,” as required by Swirsky. (Had Dr. Decker done so, he
                17 would have been forced to concede that there are no protectible similarities.) Nor
                18 did Dr. Decker explain, as required by Satava, how the selection, coordination and
                19
                   15
                      The other purported similarities which Dr. Decker claimed to exist in his
                20 affirmative   expert report are: “importance of [the] ostinatos,” use of musical
                   phrases   consisting
                21 notes in duple meter   of “two bar units of eight beats in length,” “use of even quarter
                                            time,” and use of “a pingy, synthesized timbre.” SUF ¶ 96.
                22 See SUF ¶ 98 (“countless establishing
                   He  also  made   admissions                  these are commonplace musical devices.
                                                  musical works predating the creation of ‘Joyful Noise’
                   have contained ostinatos”); SUF ¶ 99 (use of four-bar phrases “is a general
                23 characteristic   of contemporary beat-driven popular music in many genres”) & SUF
                   ¶  100  (noting
                24 and beat-driven  that this is “a basic musical building block” in the genres of hip-hop
                                      pop music); SUF ¶¶ 102 & 104 (noting the “relative simplicity” of
                   the  rhythm   in both
                25 commonplace and “not   tracks); SUF ¶ 103 (admitting that duple meter time is
                                                something any one composer is entitled to monopolize”);
                   SUF    ¶ 106 (admitting    that
                26 timbre” is not something any    the use of a “leading voice in a pingy, synthesized
                                                      composer is entitled to monopolize); SUF ¶ 105 (no
                27 composer    is allowed   to  monopolize   the use of a minor key).
                   16
                      Dr. Decker did not challenge the accuracy of Dr. Ferrara’s prior art transcriptions
   Mitchell     28 establishing the commonplace nature of the similarities at issue (SUF ¶ 109).
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                 1 arrangement of the commonplace elements in the ostinato of “Joyful Noise”
                 2 constitutes protectable expression that Plaintiffs are entitled to monopolize. (As he
                 3 could not do so.) The case of Batts, supra, 2011 U.S. Dist. LEXIS 161401, is
                 4 instructive as to why Dr. Decker’s claimed similarities fail to create an issue of
                 5 fact. In Batts, the plaintiffs alleged that their song “Boom Dynamite,” was
                 6 substantially similar to the defendants’ song “Boom Boom Pow.” In support of that
                 7 allegation, the plaintiffs proffered the report of an expert musicologist who opined
                 8 that the songs shared numerous musical elements. Notwithstanding this opinion,
                 9 Judge Walter held that the works were not substantially similar because: most of
                10 the similarities between the works were, by the admission of plaintiffs’ expert,
                11 unprotectible; and plaintiffs’ expert failed to explain how the “selection,
                12 coordination, and arrangement of those non-protectable elements created an
                13 original, protectable expression that was then copied by the . . . Defendants.” Id.
                14 The identical analysis applies here.
                15                      b.     Dr. Decker’s methodology is also flawed because he
                16                             opined on the intrinsic test.
                17         Compounding his flawed methodology and failed approach vis a vis the
                18 extrinsic test, Dr. Decker also disavowed in his rebuttal report and at his deposition
                19 the core aspects of the extrinsic test: objective identification, through
                20 musicological transcription, of the elements of a musical composition. Dr. Decker
                21 claimed objective musical transcription is purportedly contrary to current trends in
                22 academia. See, e.g., SUF ¶ 111 (“[S]cholars of popular music would disagree that
                23 transcription can answer the question at issue here.”). Unable to support this false
                24 tenet, Dr. Decker was compelled to concede that in his own scholarly publications,
                25 he has made use of transcriptions of popular musical works, including for purposes
                26 of comparing similarities between two compositions. SUF ¶ 112.17 He just failed
                27   Dr. Decker also conceded that scholars whom he cites in his rebuttal report have
                     17


   Mitchell     28 also made use of musical transcriptions in their own academic work. SUF ¶ 113.
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                 1 to do it here.
                 2         In addition to failing to properly apply the extrinsic test, Dr. Decker made
                 3 further fatal flaws in methodology because he improperly relied and opined upon
                 4 the intrinsic test, namely how the recordings of “Dark Horse” and “Joyful Noise”
                 5 subjectively sound to ordinary lay listeners. See, e.g., SUF ¶ 114 (opining that
                 6 “[t]he similarity between the ostinatos at issue in this case is … a matter of
                 7 listening” as opposed to transcription and analytic dissection; “the issue here is the
                 8 sound of these records” (emphasis added); confirming that his “opinion in the
                 9 case” is that “civilian listeners would find the songs to be similar”; “The ear
                10 decides in this case, the similarities of those ostinatos, these eight-note ostinatos.”);
                11 SUF ¶ 110 (“I distrust any efforts to use . . . transcriptions to pull us away from the
                12 evident similarity between the two tracks, one that is commonly . . . recognized by
                13 people that I – you know, by – by the ear, I think, to my – to my hearing.”). 18
                14         In his incorrect reliance upon the intrinsic test, Dr. Decker went so far as to
                15 rely upon the subjective responses of anonymous Internet users hearing the
                16 songs—thereby usurping the role of the jury. Specifically, Dr. Decker relied upon
                17 four YouTube users who posted “mashup” videos that purport to compare the
                18 sound recordings of “Dark Horse” and “Joyful Noise.” SUF ¶ 115. Dr. Decker
                19 conceded that he does not know the users, has never spoken to them, does not
                20
                21   18
                       This Court has explained that “when a comparison is made for purposes of
                     ascertaining whether there has been infringement of a copyright in a written
                22   composition, the factfinder may only compare those musical elements which are
                     actually protected, which in most cases will be the sheet music of the written
                23   composition” as opposed to a recording of that composition. Fahmy v. Jay-Z, No.
                     07-cv-05715-CAS(PJWx), 2015 U.S. Dist. LEXIS 129446, *38-39 (C.D. Cal.
                24   Sept. 24, 2015) (Snyder, J.) (citing Apple Comp., 35 F.3d at 1443 (“[O]nly those
                     elements of a work that are protectable and used without the author’s permission
                25   can be compared when it comes to the ultimate question of illicit copying”);
                     Newton v. Diamond, 204 F. Supp. 2d 1244, 1249 (C.D. Cal. 2002) (“Plaintiff
                26   contends that Defendants’ sampling infringed upon his underlying musical
                     composition. Accordingly, the court must first determine what elements of
                27   plaintiff’s work are protected by his copyright in the musical composition, as
                     opposed to those protected by the copyright in the sound recordings, and ‘filter
   Mitchell     28   out’ the latter.”)).
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                 1 know who actually created the mashup videos, and does not know how the videos
                 2 were created (SUF ¶ 116), and that “[e]ach of the mashup videos alters one or both
                 3 of the sound recordings at issue” and that he did not know the extent of such
                 4 alterations (SUF ¶ 117). Dr. Decker disingenuously referred to these subjective,
                 5 non-expert comparisons as “acts of popular musicology.” SUF ¶ 115. They are not.
                 6 These mashups of altered sound recordings by unknown users utilizing untested
                 7 methods are the antithesis of proper expert testimony that is reliable and soundly
                 8 based on expert musicology under the extrinsic test.
                 9            Courts have rejected similar attempts by expert musicologists to employ a
                10 subjective, intrinsic analysis, instead of an objective, extrinsic analysis. For
                11 example, in Cottrill v. Spears—a case cited with approval by the Ninth Circuit in
                12 Swirsky19—the plaintiffs’ expert considered how the songs at issue “are aurally
                13 perceived by the lay listener,” and the expert admitted that his opinion was “not
                14 textually based.” No. 02-3646, 2003 U.S. Dist. LEXIS 8823, at *29-30 (E.D. Pa.
                15 May 22, 2003). The court rejected this analysis, since it went to the intrinsic test,
                16 not the extrinsic test, and therefore, “regardless of its reliability, does not aid the
                17 trier of fact in the detailed examination of the elements of the two works required
                18 under the extrinsic test ….” Id.
                19            Similarly, in Copeland, the plaintiff’s music expert testified that his opinion
                20 was “based on his subjective belief that the hooks of the two songs sound the same,
                21 and that they would sound the same to an ordinary listener.” 2016 U.S. Dist.
                22 LEXIS 178817, at *15. Specifically, the expert testified that “[u]pon [playing the
                23 transposed songs concurrently] . . . the lay person and professional listener can
                24 clearly hear that the hook . . . is strikingly similar in lyric, melody, and rhythmic
                25 phrasing.” Id. The court excluded the expert’s testimony, finding that his opinions
                26 were “not reliable and will not assist the trier of fact in assessing the extrinsic
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                          Swirsky, 376 F.3d at 849.
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                 1 similarities, if any, between the songs.” The Copeland court subsequently granted
                 2 the defendants’ motion for summary judgment “in light of recently excluded expert
                 3 testimony.” Request for Judicial Notice, Ex. 1 at 1, Ex. 2. See also Goldberg v.
                 4 Cameron, 787 F. Supp. 2d 1013, 1021-1022 (N.D. Cal. 2011) (summary judgment
                 5 for defendants was appropriate where plaintiff’s expert considered “the effects the
                 6 works of music have on the listener” instead of “provid[ing] a proper
                 7 musicological comparison of the protectable elements of the musical works”).
                 8         Similarly here, Dr. Decker’s reports and testimony are fundamentally flawed
                 9 and unreliable. He fails to apply the extrinsic test properly, fails to rebut Dr.
                10 Ferrara’s extrinsic findings (while admitting core matters are unprotectible), and
                11 then improperly devolves into a purely subjective opinion reserved for the intrinsic
                12 test and the jury. Dr. Decker’s opinions fail to meet the standards for expert
                13 testimony in this Circuit. For that reason, Plaintiffs have no requisite proof of
                14 substantial similarity under the extrinsic test as they have no admissible proper
                15 expert testimony. Swirsky, 376 F.3d at 845.
                16 V.      CONCLUSION
                17         Plaintiffs’ claim for copyright infringement should be dismissed as a matter
                18 of law because there is insufficient evidence to support either of the two requisite
                19 elements of their claim—access or substantial similarity.
                20 DATED: JUNE 25, 2018                   MITCHELL SILBERBERG & KNUPP LLP
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